      Case 3:03-cr-00850-W Document 1065 Filed 04/20/20 PageID.8820 Page 1 of 1

 1
 2
 3
 4                           UNITED STATES DISTRICT COURT
 5                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 6                        (HONORABLE THOMAS J. WHELAN)
 7
 8    UNITED STATES OF AMERICA,                         CASE NO.: 03-CR-850-W-3
 9                 Plain tiff,                          ORDER
10    V.                                                GRANTING UNOPPOSED
                                                        MOTION TO REDUCE
11   JOHN HARRELL,                                      SENTENCE UNDER THE
                                                        FIRST STEP ACT OF 2018
12                 Defendant.
13
14
15            IT IS . HEREBY ORDERED that Defendant's unopposed motion for
16 reduction in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended by the Firs
17 Step Act of 2018 (ECF No. 1063), is GRANTED. The custodial component of th
18   sentence imposed on January 7, 2008 in this case is hereby VACATED; all other, nori
19   custodial aspects of the sentence REMAIN IN PLACE. The Defendant is according!
20   resentenced to 205 months (time served), effective upon the filing of this Order and a
21   reflected in the Amended Judgment issued concurrently herewith.
22            ITIS SO ORDERED.
23
     Dated:
24                                    HONORABLE        ~SJ:
25                                    United States District Court Judge
26
27
28
